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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, et al.,

                              Plaintiffs,
                                                    Case No. 1:20-cv-03010-APM
v.
                                                    HON. AMIT P. MEHTA
GOOGLE LLC,

                              Defendant.


STATE OF COLORADO, et al.,

                              Plaintiffs,
                                                    Case No. 1:20-cv-03715-APM
v.
                                                    HON. AMIT P. MEHTA
GOOGLE LLC,

                              Defendant.



 PLAINTIFFS’ MEMORANDUM IN PARTIAL OPPOSITION TO ANTHROPIC PBC’S
         MOTION FOR LEAVE TO PARTICIPATE AS AMICUS CURIAE

       Non-Party Anthropic PBC (Anthropic) has filed a purported Motion for Leave to

Participate as Amicus Curiae (Anthropic Mot.), requesting that it be permitted to submit both an

amicus brief and evidence in the form of witness declarations. Regardless of how it is styled,

Anthropic’s proposal seeking to inject evidence into the proceeding goes beyond the scope of

amicus participation and amounts to a de facto request for leave to intervene, which Plaintiffs

oppose for the same reasons they opposed Apple’s Motion to Intervene. See generally ECF No.

1123 (Plaintiffs’ Memorandum in Opposition to Apple Inc’s Motion for Limited Intervention)

(Opp. Br.).

       Although Plaintiffs do not oppose submission of an amicus brief (provided Plaintiffs are
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afforded an opportunity to respond), Anthropic’s request goes beyond a desire to be heard on the

proposed remedies. Instead, Anthropic seeks to obtain the advantages of a party—through

submission of written witness statements—while avoiding the disadvantages of full participation,

namely affording Plaintiffs the opportunity to cross-examine Anthropic’s witnesses and respond

with evidence of their own.1

         Accordingly, Plaintiffs respectfully request the Court deny Anthropic’s motion with

respect to any participation in the proceeding beyond submission of an amicus brief. Plaintiffs

further request that, should the Court permit Anthropic to file such a brief, that Plaintiffs are

permitted to respond.

I.       Anthropic’s De Facto Motion To Intervene Is Untimely And Google Adequately
         Represents Its Interests

         Although Anthropic styles its motion as “participation as amicus,” it is telling that the

company cites Apple’s request for intervention as its basis. See Anthropic Mot. at 3. Its de facto

motion to intervene should fail for the same reason Apple’s did: timeliness. This Court found

that Apple’s motion was untimely because, among other reasons, Apple waited too long after

Plaintiffs’ Proposed Remedies Framework (Remedies Framework) was filed to seek

intervention. ECF No. 1153 (Memorandum Opinion and Order Denying Apple’s Motion for

Limited Intervention) (Order Denying Intervention) at 2. Just like Apple, Anthropic was put on

notice of Plaintiffs’ intention by the Remedies Framework filed on October 8, 2024. ECF

No. 1052 (Remedies Framework). Section III of the Remedies Framework details Plaintiffs’


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     Although Anthropic seeks the same relief as Apple, the two parties are very differently
     situated. Apple made extensive document productions during liability. Its executives were
     deposed, testified, and cross-examined at trial. During the remedies phase, Apple again made
     significant document productions, and its potential witness was deposed. If an Apple witness
     is called to testify during the remedies hearing, they will be cross examined. In stark contrast,
     Anthropic’s potential witnesses have never been deposed and are not identified on either
     Parties’ witness list. Therefore, in all likelihood, they will not testify during the remedies trial.
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consideration of remedies that would “prohibit Google from owning or otherwise holding a stake

in the success of its search competitors.” Remedies Framework at 9. Elsewhere, the Remedies

Framework explains that Plaintiffs were considering remedies that would “limit or end Google’s

use of contracts, monopoly profits, and other tools to control or influence longstanding and

emerging distribution channels and search-related products (e.g., browsers, search apps, artificial

intelligence summaries and agents).” Remedies Framework at 5–6 (emphasis added).

       Read together, the Remedies Framework makes clear that Anthropic’s investment

contracts with Google are well within the scope of Plaintiffs’ remedies and their likely impact.

To that end, Anthropic’s claimed surprise that they were implicated in Plaintiff’s Proposed Final

Judgment (Plaintiffs’ PFJ) does not stem from a lack of notice. Were Anthropic to have styled

the instant motion as a motion to intervene, its request, like Apple’s, would be untimely.

Compare Anthropic Mot. at 1 (filed 129 days after the Remedies Framework), with Order

Denying Intervention at 6 (finding that a 76-day delay was too long in this litigation’s context).

And even if Anthropic received notice only by Plaintiffs’ PFJ, its motion to intervene would still

be untimely, happening 86 days after the PFJ was filed and only two weeks before the end of fact

discovery. See ECF No. 1062-1 (Plaintiffs’ PFJ) (even with the more generous tolling, it took

Anthropic 10 days longer than Apple to file).

       In addition, Google is ability to represent Anthropic’s interests, much as it can represent

Apple’s, since Google and Anthropic have a mutually aligned interest in seeing Google’s

investment in Anthropic continue. See Opp. Br. at 8–14.

II.    Plaintiffs Would Be Prejudiced By Continued Submissions Of Declarations Or
       Other Out Of Court Statements

       The submission of Anthropic affidavits is neither necessary nor appropriate. First,

Anthropic—unlike Apple—has not had witnesses deposed, testified, or cross-examined. Second,


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the proposed submission (Declaration of Tom Brown) demonstrates exactly the reason that

sworn statements not subject to cross-examination should not be permitted because it seeks to

opine on competition related to artificial intelligence and cloud computing as well as make

factual allegations about alleged harms to competition.

        Permitting every untimely intervenor with an interest in this proceeding to inject

unrebutted evidence will prejudice Plaintiffs by creating the necessity of additional discovery

and time to prepare for trial. See Caterino v. Barry, 922 F.2d 37, 41–42 (1st Cir. 1990). The risks

threatened under these factors are especially acute here. Anthropic filed its motion on

February 14, 2025, just fourteen days before the close of fact discovery.2 At that point in the

remedies phase discovery process, Plaintiffs had almost no available avenues to conduct

discovery about Anthropic’s proposed declarations.

        To properly respond to Anthropic’s witness declarations, Plaintiffs would need both a

deposition and additional document discovery. Neither are practically available. Tom Brown,

Anthropic’s CEO and proposed declarant, appears to reside in San Francisco, California, where

Anthropic is headquartered. Under this jurisdiction’s local rules, following Anthropic’s filing, his

deposition could not have been noticed because there were too few days remaining in fact

discovery. See D.C. Local Civil Rule 30.1 (14 days’ notice required for deponents who reside

more than 50 miles from the District of Columbia). In addition, by the time Anthropic filed its

motion, Plaintiff had already noticed all available depositions under the Court’s scheduling




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    On February 12, 2025, Anthropic notified the Parties by email that it intended to file the
    instant motion. Anthropic explained that the motion itself would be filed on February 14,
    2025. The notification did not identify the facts necessary for Plaintiffs to begin responding to
    Anthropic’s declarations, i.e., the identity of the declarants and the subject matter of their
    declarations. And Anthropic’s motion itself only identified one of the “up to two” declarations
    it might submit. Anthropic Mot. at 11.
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order. Plaintiffs would need to seek leave from the Court to conduct additional depositions. In

addition, the Parties had already set over twenty depositions between February 14 and

February 28. And all of this presumes that Anthropic would agree to produce Mr. Brown for

deposition in a timely manner, which Anthropic failed to offer in its motion.

       In advance of any deposition, Plaintiffs would also need custodial documents, data, and

other information from Anthropic. Earlier in discovery, Anthropic agreed to produce targeted

documents in request to a narrow subpoena for specific agreements and contracts. It has neither

agreed nor offered to broad custodial document searches. A request for documents at this late

stage would fare no better than a deposition, as Anthropic would have no obligation to even

lodge initial objections for 14 days. Fed. R. Civ. P. 45(d)(2)(B). Practically and theoretically

speaking, even if Plaintiffs had begun efforts the minute that Anthropic filed its motion,

completing the discovery necessary to respond to Anthropic’s proposed declarations within the

fact discovery time period was impossible.

       These substantive and practical barriers understate the actual prejudice to Plaintiffs.

Anthropic’s late involvement threatens to increase the parties’ “already heavy burden” to

complete accelerated remedies discovery. Order Denying Intervention at 17. The burden to

pursue discovery of a new party in the action creates an unnecessary imposition on Plaintiffs, as

Anthropic could have filed this same motion at least 86 days earlier. Cf. D.C. Local Civil Rule

7(o)(2) (“[A motion for leave to file an amicus brief] shall be filed in a timely manner such that it

does not unduly delay the Court’s ability to rule on any pending matter.”). And allowing

Anthropic to submit late affidavits could invite other firms to seek relief even later in this

proceeding, magnifying the potential prejudice to Plaintiffs.

       Anthropic’s legal arguments are also unpersuasive. Anthropic fails to muster any legal



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authority supporting its entitlement to submit these declarations. As a general matter, amici are

not parties to matters and cannot offer evidence on their own. Orion Wine Imports, LLC v.

Applesmith, 440 F. Supp. 3d 1139, 1146 (E.D. Cal. 2020), aff’d, 837 F. App’x 585 (9th Cir.

2021) (citing WildEarth Guardians v. Jeffries, 370 F. Supp. 3d 1208, 1228 (D. Or. 2019)).

Courts often strike factual assertions made by an amicus unless the facts relate to jurisdictional

issues. See Knox v. U.S. Dep’t of Interior, No. 4:09-CV-162-BLW, 2011 WL 2837219, at *2 (D.

Idaho July 9, 2011) (citing Michel v. Anderson, 14 F.3d 623, 625 (D.C. Cir.1994)). And amicus

submissions that provide what is essentially “unsworn expert testimony” are improper. See New

York v. Microsoft Corp., No. CIV.A. 98-1233 CKK, 2002 WL 31628215, at *1 (D.D.C. Nov. 14,

2002). Mr. Brown’s proposed declaration does exactly that. ECF No. 1065 (Redacted

Declaration of Tom Brown). It opines that “Plaintiffs’ proposed remedy would severely injure

Anthropic without providing any corresponding benefits to competition or consumers.” Id. at 6.

Discovery would be necessary to determine if Mr. Brown’s broad, conclusory statements about

competitive effects exceed his personal knowledge or foundation on such issues. Such statements

on their face veer into competitive effects analysis that is typically performed by expert

economists, not late-identified third-party fact witnesses. See, e.g., United States v. Anthem, Inc.,

236 F. Supp. 3d 171, 212 (D.D.C.), aff’d, 855 F.3d 345 (D.C. Cir. 2017); United States v. JetBlue

Airways Corp., 712 F. Supp. 3d 109, 144 (D. Mass. 2024), appeal dismissed, No. 24-1092, 2024

WL 3491184 (1st Cir. Mar. 5, 2024).

III.    Plaintiffs Do Not Oppose Anthropic’s Request To Submit An Amicus Curiae
        Brief

        Plaintiffs defer to the Court on Anthropic’s request to participate as an amicus curie by

providing its views on remedies in an amicus brief. The grant of such requests is soundly vested

in the district court’s “wide discretion.” Nat’l Ass’n of Home Builders v. U.S. Army Corps of


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Eng’rs, 519 F.Supp.2d 89, 93 (D.D.C. 2007). See also Matter of Search of Info. Associated with

[redacted]@mac.com that is Stored at Premises Controlled by Apple, Inc., 13 F. Supp. 3d 157,

167 (D.D.C. 2014). An amicus’s participation is “only for the benefit of the [c]ourt.” United

States v. Microsoft Corp., No. CIV.A.98-1232(CKK), 2002 WL 319366, at *2 (D.D.C. Feb. 28,

2002)). Plaintiffs do not object to the Court taking in the views of any non-parties that it wishes

but request the opportunity to respond such filings.

                                             CONCLUSION

       For these reasons, Plaintiffs respectfully request that this Court reject Anthropic’s request

to submit declarations in this matter. If the Court is inclined to grant Anthropic’s request,

Plaintiffs request that any declarations be submitted before trial to provide Plaintiffs with an

opportunity to respond and not be admissible as trial exhibits. Such declarations, standing alone,

are inadmissible hearsay to which no exception or exclusion applies. See Gem Fin. Serv., Inc. v.

City of New York, No. 13CV1686RPKRER, 2022 WL 409618, at *5 (E.D.N.Y. Feb. 10, 2022)

(finding that a declaration was not admissible under Rules of Evidence 803, 804, or 807).

Plaintiffs further request that if the Court permits Anthropic to submit an amicus brief, they be

permitted the opportunity to respond.




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 Dated: February 28, 2025                Respectfully submitted,


                                       /s/ Ryan Karr
                                       David E. Dahlquist
                                       Adam T. Severt
                                       Travis R. Chapman (D.C. Bar # 90031151)
                                       Ryan T. Karr
                                       Veronica N. Onyema (D.C. Bar #979040)

                                       U.S. Department of Justice
                                       Antitrust Division
                                       Technology & Digital Platforms Section
                                       450 Fifth Street NW, Suite 7100
                                       Washington, DC 20530




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By:     /s/ Christoper A. Knight                     455 Golden Gate Avenue, Suite 11000
James Uthmeier, Attorney General                     San Francisco, California 94102
R. Scott Palmer, Special Counsel, Complex            Cari.Jeffries@doj.ca.gov
Enforcement Chief, Antitrust Division
Lee Istrail, Assistant Attorney General              Counsel for Plaintiff State of California
Christopher A. Knight, Assistant Attorney
General                                              Matthew M. Ford
Office of the Attorney General, State of             Arkansas Bar No. 2013180
Florida                                              Senior Assistant Attorney General
PL-01 The Capitol                                    Office of the Arkansas Attorney General Tim
Tallahassee, Florida 32399                           Griffin
Lee.Istrail@myfloridalegal.com                       323 Center Street, Suite 200
Scott.Palmer@myfloridalegal.com                      Little Rock, AR 72201
Christopher.Knight@myfloridalegal.com                Matthew.Ford@arkansasag.gov

Counsel for Plaintiff State of Florida               Counsel for Plaintiff State of Arkansas

By:     /s/ Diamante Smith                           Christopher Carr, Attorney General
Ken Paxton, Attorney General                         Logan B. Winkles, Deputy Attorney General
Brent Webster, First Assistant Attorney              Ronald J. Stay, Jr., Senior Assistant Attorney
General                                              General
Ralph Molina, Deputy First Assistant Attorney        Charles Thimmesch, Senior Assistant Attorney
General                                              General
Austin Kinghorn, Deputy Attorney General for         Office of the Attorney General, State of
Civil Litigation                                     Georgia
Diamante Smith, Assistant Attorney General,          40 Capitol Square, SW
Antitrust Division                                   Atlanta, Georgia 30334-1300
Office of the Attorney General, State of Texas       cthimmesch@law.georgia.gov
P.O. Box 12548
Austin, Texas 78711-2548                             Counsel for Plaintiff State of Georgia
(512) 936-1162
Diamante.Smith@oag.texas.gov                         Theodore Edward Rokita, Attorney General
                                                     Scott L. Barnhart, Chief Counsel and Director,
Counsel for Plaintiff State of Texas                 Consumer Protection Division
                                                     Jesse Moore, Deputy Attorney General
By:    /s/ Carolyn D. Jeffries                       Christi Foust, Deputy Attorney General
Rob Bonta, Attorney General                          Office of the Attorney General, State of
Paula Blizzard, Senior Assistant Attorney            Indiana
General                                              Indiana Government Center South, Fifth Floor
Michael Jorgenson, Supervising Deputy                302 West Washington Street
Attorney General                                     Indianapolis, Indiana 46204
Brian Wang, Deputy Attorney General                  Jesse.Moore@atg.in.gov
Carolyn D. Jeffries, Deputy Attorney General
(DC Bar No. 1600843)                                 Counsel for Plaintiff State of Indiana
Office of the Attorney General
California Department of Justice


                                                 9
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Russell Coleman, Attorney General                      Fax: 314-340-7981
J. Christian Lewis, Commissioner of the
Office of Consumer Protection                          Counsel for Plaintiff State of Missouri
Philip R. Heleringer, Executive Director of the
Office of Consumer Protection                          Lynn Fitch, Attorney General
Jonathan E. Farmer, Deputy Executive                   Crystal Utley Secoy, Assistant Attorney
Director of the Office of Consumer Protection          General
Office of the Attorney General,                        Lee Morris, Special Assistant Attorney
Commonwealth of Kentucky                               General
1024 Capital Center Drive, Suite 200                   Office of the Attorney General, State of
Frankfort, Kentucky 40601                              Mississippi
Philip.Heleringer@ky.gov                               P.O. Box 220
                                                       Jackson, Mississippi 39205
Counsel for Plaintiff Commonwealth of                  Crystal.Utley@ago.ms.gov
Kentucky                                               Lee.Morris@ago.ms.gov

Liz Murrill, Attorney General                          Counsel for Plaintiff State of Mississippi
Patrick Voelker, Assistant Attorney General
Office of the Attorney General, State of               Anna Schneider
Louisiana                                              Special Assistant Attorney General, Senior
Public Protection Division                             Counsel
1885 North Third St.                                   Montana Office of Consumer Protection
Baton Rouge, Louisiana 70802                           P.O. Box 200151
voelkerp@ag.louisiana.gov                              Helena, MT. 59602-0150
                                                       Phone: (406) 444-4500
Counsel for Plaintiff State of Louisiana               Fax: 406-442-1894
                                                       Anna.schneider@mt.gov
Dana Nessel, Attorney General
Scott Mertens, Assistant Attorney General              Counsel for Plaintiff State of Montana
Michigan Department of Attorney General
P.O. Box 30736                                         Alan Wilson, Attorney General
Lansing, Michigan 48909                                W. Jeffrey Young, Chief Deputy Attorney
MertensS@michigan.gov                                  General
                                                       C. Havird Jones, Jr., Senior Assistant Deputy
Counsel for Plaintiff State of Michigan                Attorney General
                                                       Mary Frances Jowers, Assistant Deputy
Michael Schwalbert                                     Attorney General
Missouri Bar No. 63229                                 Office of the Attorney General, State of South
Assistant Attorney General                             Carolina
Consumer Protection Section                            1000 Assembly Street
Missouri Attorney General's Office                     Rembert C. Dennis Building
815 Olive Street | Suite 200                           P.O. Box 11549
Saint Louis, Missouri 63101                            Columbia, South Carolina 29211-1549
michael.schwalbert@ago.mo.gov
Phone: 314-340-7888                                    mfjowers@scag.gov




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                                                     Wisconsin Department of Justice
Counsel for Plaintiff State of South Carolina        17 W. Main St.
                                                     Madison, Wisconsin 53701
Joshua L. Kaul, Attorney General                     mcfarlanele@doj.state.wi.us
Laura E. McFarlane, Assistant Attorney
General                                              Counsel for Plaintiff State of Wisconsin




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PHILIP WEISER
Attorney General of Colorado                   Counsel for Plaintiff State of Nebraska

/s/ Jonathan B. Sallet                         KRISTIN K. MAYES
Jonathan B. Sallet, DC Bar No. 336198          Attorney General of Arizona
Steven M. Kaufmann
Elizabeth W. Hereford                          Robert A. Bernheim, Unit Chief Counsel
Conor J. May                                   Jayme Weber, Senior Litigation Counsel
Colorado Office of the Attorney General        Arizona Office of the Attorney General
1300 Broadway, 7th Floor                       400 West Congress, Ste. S-215
Denver, CO 80203                               Tucson, Arizona 85701
Telephone: (720) 508-6000                      Telephone: (520) 628-6507
E-Mail: Jon.Sallet@coag.gov                    E-Mail: Robert.Bernheim@azag.gov
Steve.Kaufmann@coag.gov                        Jayme.Weber@azag.gov
Elizabeth.Hereford@coag.gov
Conor.May@coag.gov                             Counsel for Plaintiff State of Arizona

William F. Cavanaugh, Jr.                      BRENNA BIRD
PATTERSON BELKNAP WEBB &                       Attorney General of Iowa
TYLER LLP
1133 Avenue of the Americas                    Noah Goerlitz, Assistant Attorney General
New York, NY 10036                             Office of the Attorney General of Iowa
Telephone: (212) 336-2793                      1305 E. Walnut St., 2nd Floor
E-Mail: wfcavanaugh@pbwt.com                   Des Moines, IA 50319
                                               Telephone: (515) 725-1018
Counsel for Plaintiff State of Colorado        E-Mail: Noah.goerlitz@ag.iowa.gov

MIKE HILGERS                                   Counsel for Plaintiff State of Iowa
Attorney General of Nebraska
                                               LETITIA JAMES
Justin C. McCully, Assistant Attorney          Attorney General of New York
General
Nebraska Department of Justice                 Elinor R. Hoffmann
Office of the Attorney General                 Morgan J. Feder
2115 State Capitol                             Michael D. Schwartz
Lincoln, NE 68509                              Office of the New York State Attorney
Telephone: (402) 471-9305                      General
E-Mail: Justin.mccully@nebraska.gov            28 Liberty Street
                                               New York, NY 10005
William F. Cavanaugh, Jr.                      Telephone: (212) 416-8513
PATTERSON BELKNAP WEBB &                       E-Mail: Elinor.hoffmann@ag.ny.gov
TYLER LLP                                      Morgan.feder@ag.ny.gov
1133 Avenue of the Americas                    Michael.schwartz@ag.ny.gov
New York, NY 10036
Telephone: (212) 336-2793                      Counsel for Plaintiff State of New York
E-Mail: wfcavanaugh@pbwt.com

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JEFF JACKSON                                       E-Mail: mmichaloski@agutah.gov
Attorney General of North Carolina                 mwmartin@agutah.gov

Kunal Janak Choksi                                 Counsel for Plaintiff State of Utah
Joshua Daniel Abram
Jessica Vance Sutton                               TREGARRICK TAYLOR
North Carolina Department of Justice               Attorney General of Alaska
114 W. Edenton St.
Raleigh, NC 27603                                  Jeff Pickett
Telephone: (919) 716-6000                          State of Alaska, Department of Law
E-Mail: kchoksi@ncdoj.gov                          Office of the Attorney General
jabram@ncdoj.gov                                   1031 W. Fourth Avenue, Suite 200
jsutton2@ncdoj.gov                                 Anchorage, Alaska 99501
                                                   Telephone: (907) 269-5100
Counsel for Plaintiff State of North               E-Mail: Jeff.pickett@alaska.gov
Carolina
                                                   Counsel for Plaintiff State of Alaska
JONATHAN SKRMETTI
Attorney General of Tennessee                      WILLIAM TONG
                                                   Attorney General of Connecticut
J. David McDowell
Austin Ostiguy                                     Nicole Demers
Tyler Corcoran                                     Office of the Attorney General of
Office of the Attorney General and                 Connecticut
Reporter                                           165 Capitol Avenue, Suite 5000
P.O. Box 20207                                     Hartford, CT 06106
Nashville, TN 37202                                Telephone: (860) 808-5202
Telephone: (615) 741-8722                          E-Mail: Nicole.demers@ct.gov
E-Mail: David.McDowell@ag.tn.gov
austin.ostiguy@ag.tn.gov                           Counsel for Plaintiff State of Connecticut
Tyler.Corcoran@ag.tn.gov
                                                   KATHLEEN JENNINGS
Counsel for Plaintiff State of Tennessee           Attorney General of Delaware

DEREK E. BROWN                                     Michael Andrew Undorf
Attorney General of Utah                           Delaware Department of Justice
                                                   Fraud and Consumer Protection Division
Matthew Michaloski, Assistant Attorney             820 N. French St., 5th Floor
General                                            Wilmington, DE 19801
Marie W.L. Martin, Deputy Division                 Telephone: (302) 683-8816
Director                                           E-Mail: Michael.undorf@delaware.gov
Utah Office of Attorney General
160 E 300 S, 5th Floor                             Counsel for Plaintiff State of Delaware
P.O. Box 140811
Salt Lake City, Utah 84114                         BRIAN SCHWALB
Telephone: (801) 440-9825

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Attorney General of the District of               Boise, ID 83720
Columbia                                          Telephone: (208) 332-3549
                                                  E-Mail: John.olson@ag.idaho.gov
Elizabeth Gentry Arthur
Office of the Attorney General for the            Counsel for Plaintiff State of Idaho
District of Columbia
400 6th Street NW                                 KWAME RAOUL
Washington, DC 20001                              Attorney General of Illinois
Telephone: (202) 724-6514
E-Mail: Elizabeth.arthur@dc.gov                   Elizabeth Maxeiner
                                                  Brian Yost
Counsel for Plaintiff District of Columbia        Jennifer Coronel
                                                  Office of the Attorney General of Illinois
DOUGLAS MOYLAN                                    100 W. Randolph St.
Attorney General of Guam                          Chicago, IL 60601
                                                  Telephone: (773) 590-7935
Fred Nishihira                                    E-Mail: Elizabeth.maxeiner@ilag.gov
Office of the Attorney General of Guam            Brian.yost@ilag.gov
590 S. Marine Corps Drive, Suite 901              Jennifer.coronel@ilag.gov
Tamuning, Guam 96913
Telephone: (671) 475-3324                         Counsel for Plaintiff State of Illinois
E-Mail: fnishihira@oagguam.org
                                                  KRIS W. KOBACH
Counsel for Plaintiff Territory Guam              Attorney General of Kansas

ANNE E. LOPEZ                                     Lynette R. Bakker
Attorney General of Hawai‘i                       Kansas Office of the Attorney General
                                                  120 S.W. 10th Avenue, 2nd Floor
Rodney I. Kimura                                  Topeka, KS 66612
Department of the Attorney General, State         Telephone: (785) 296-3751
of Hawai‘i                                        E-Mail: Lynette.bakker@ag.ks.gov
425 Queen Street
Honolulu, HI 96813                                Counsel for Plaintiff State of Kansas
Telephone (808) 586-1180
E-Mail: Rodney.i.kimura@hawaii.gov                AARON M. FREY
                                                  Attorney General of Maine
Counsel for Plaintiff State of Hawai‘i
                                                  Christina M. Moylan
RAÚL LABRADOR                                     Office of the Attorney General of Maine
Attorney General of Idaho                         6 State House Station
                                                  August, ME 04333
John K. Olson                                     Telephone: (207) 626-8800
Office of the Idaho Attorney General              E-Mail: Christina.moylan@maine.gov
Consumer Protection Division
954 W. Jefferson St., 2nd Floor                   Counsel for Plaintiff State of Maine
P.O. Box 83720

                                             14
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ANTHONY G. BROWN                                Michelle C. Badorine
Attorney General of Maryland                    Lucas J. Tucker
                                                Nevada Office of the Attorney General
Schonette J. Walker                             100 N. Carson Street
Gary Honick                                     Carson City, NV 89701
Office of the Attorney General of               Telephone: (775) 684-1164
Maryland                                        E-Mail: mbadorine@ag.nv.gov
200 St. Paul Place, 19th Floor                  ltucker@ag.nv.gov
Baltimore, MD 21202
Telephone: (410) 576-6480                       Counsel for Plaintiff State of Nevada
E-Mail: swalker@oag.state.md.us
ghonick@oag.state.md.us                         JOHN FORMELLA
                                                Attorney General of New Hampshire
Counsel for Plaintiff State of Maryland
                                                Brandon Garod
ANDREA CAMPBELL                                 Office of Attorney General of New
Attorney General of Massachusetts               Hampshire
                                                1 Granite Place South
Jennifer E. Greaney                             Concord, NH 03301
Office of the Attorney General of               Telephone: (603) 271-1217
Massachusetts                                   E-Mail: Brandon.h.garod@doj.nh.gov
One Ashburton Place, 18th Floor
Boston, MA 02108                                Counsel for Plaintiff State of New
Telephone: (617) 963-2981                       Hampshire
E-Mail: Jennifer, greaney@mass.gov
                                                MATTHEW PLATKIN
Counsel for Plaintiff Commonwealth of           Attorney General of New Jersey
Massachusetts
                                                Isabella R. Pitt
KEITH ELLISON                                   Deputy Attorney General
Attorney General of Minnesota                   New Jersey Attorney General’s Office
                                                124 Halsey Street, 5th Floor
Zach Biesanz                                    Newark, NJ 07102
Senior Enforcement Counsel                      Telephone: (973) 648-7819
Office of the Minnesota Attorney General        E-Mail: Isabella.Pitt@law.njoag.gov
Antitrust Division
445 Minnesota Street, Suite 600                 Counsel for Plaintiff State of New Jersey
St. Paul, MN 55101
Telephone: (651) 757-1257                       RAÚL TORREZ
E-Mail: Zach.biesanz@ag.state.mn.us             Attorney General of New Mexico

Counsel for Plaintiff State of Minnesota        Judith E. Paquin Cholla Khoury
                                                Assistant Attorney General
AARON D. FORD                                   New Mexico Office of the Attorney
Attorney General of Nevada                      General
                                                408 Galisteo St.

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Santa Fe, NM 87504                                 313 NE 21st Street
Telephone: (505) 490-4885                          Oklahoma City, OK 73105
E-Mail: jpaquin@nmag.gov                           Telephone: (405) 522-1014
ckhoury@nmag.gov                                   E-Mail: Robert.carlson@oag.ok.gov

Counsel for Plaintiff State of New Mexico          Counsel for Plaintiff State of Oklahoma

DREW WRIGLEY                                       DAN RAYFIELD
Attorney General of North Dakota                   Attorney General of Oregon

Elin S. Alm                                        Cheryl Hiemstra, Special Assistant
Assistant Attorney General                         Attorney General
Consumer Protection and Antitrust                  Gina Ko, Assistant Attorney General
Division                                           Oregon Department of Justice
Office of the Attorney General of North            1162 Court St. NE
Dakota                                             Salem, OR 97301
1720 Burlington Drive, Suite C                     Telephone: (503) 934-4400
Bismarck, ND 58504                                 E-Mail: Cheryl.Hiemstra@doj.oregon.gov
Telephone: (701) 328-5570                          Gina.Ko@doj.oregon.gov
E-Mail: ealm@nd.gov
                                                   Counsel for Plaintiff State of Oregon
Counsel for Plaintiff State of North
Dakota                                             MICHELLE HENRY
                                                   Attorney General of Pennsylvania
DAVID YOST
Attorney General of Ohio                           Tracy W. Wertz
                                                   Joseph S. Betsko
Jennifer Pratt                                     Pennsylvania Office of Attorney General
Beth Ann Finnerty                                  Strawberry Square
Mark Kittel                                        Harrisburg, PA 17120
Office of the Attorney General of Ohio             Telephone: (717) 787-4530
30 E Broad Street, 26th Floor                      E-Mail: jbetsko@attorneygeneral.gov
Columbus, OH 43215                                 twertz@attorneygeneral.gov
Telephone: (614) 466-4328
E-Mail:                                            Counsel for Plaintiff Commonwealth of
Jennifer.pratt@ohioattorneygeneral.gov             Pennsylvania
Beth.finnerty@ohioattorneygeneral.gov
Mark.kittel@ohioattorneygeneral.gov                DOMINGO EMANUELLI
                                                   HERNANDEZ
Counsel for Plaintiff State of Ohio                Attorney General of Puerto Rico
                                                   Guarionex Diaz Martinez
GENTNER DRUMMOND                                   Assistant Attorney General Antitrust
Attorney General of Oklahoma                       Division
                                                   Puerto Rico Department of Justice
Robert J. Carlson                                  P.O. Box 9020192
Office of the Oklahoma Attorney General            San Juan, Puerto Rico 00902

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Telephone: (787) 721-2900, Ext. 1201               JASON S. MIYARES
E-Mail: gdiaz@justicia.pr.gov                      Attorney General of Virginia

Counsel for Plaintiff Territory Puerto             Tyler T. Henry
Rico                                               Office of the Attorney General of Virginia
                                                   202 N. 9th Street
PETER NERONHA                                      Richmond, VA 23219
Attorney General of Rhode Island                   Telephone: (804) 692-0485
                                                   E-Mail: thenry@oag.state.va.us
Stephen Provazza
Rhode Island Office of the Attorney                Counsel for Plaintiff State of Virginia
General
150 South Main Street                              ROBERT FERGUSON
Providence, RI 02903                               Attorney General of Washington
Telephone: (401) 274-4400
E-Mail: SProvazza@riag.ri.gov                      Amy Hanson
                                                   Senior Assistant Attorney General
Counsel for Plaintiff State of Rhode Island        800 Fifth Avenue, Suite 2000
                                                   Seattle, WA 98104
MARTIN J. JACKLEY                                  Telephone: (206) 464-5419
Attorney General of South Dakota                   E-Mail: Amy.hanson@atg.wa.gov

Yvette K. Lafrentz                                 Counsel for Plaintiff State of Washington
Office of the Attorney General of South
Dakota                                             JOHN B. McCUSKEY
1302 E. Hwy 14, Suite 1                            Attorney General of West Virginia
Pierre, SD 57501
Telephone: (605) 773-3215                          Douglas Lee Davis
E-Mail: Yvette.lafrentz@state.sd.us                Office of the Attorney General, State of
                                                   West Virginia
Counsel for Plaintiff State of South               1900 Kanawha Boulevard
Dakota                                             East Building 6, Suite 401
                                                   P.O. Box 1789
CHARITY R. CLARK                                   Charleston, WV 25305
Attorney General of Vermont                        Telephone: (304) 558-8986
                                                   E-Mail: Douglas.l.davis@wvago.gov
Christopher J. Curtis, Assistant Attorney
General                                            Counsel for Plaintiff State of West
Office of the Attorney General of                  Virginia
Vermont
109 State St.                                      BRIDGET HILL
Montpelier, VT 05609                               Attorney General of Wyoming
Telephone: (802) 828-3170
E-Mail: christopher.curtis@vermont.gov             William T. Young
Counsel for Plaintiff State of Vermont             Wyoming Attorney General’s Office
                                                   2320 Capitol Avenue

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Kendrick Building
Cheyenne, WY 82002
Telephone: (307) 777-7847
E-Mail: William.young@wyo.gov

Counsel for Plaintiff State of Wyoming




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